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1
                                 UNITED STATES DISTRICT COURT
2

3                                    DISTRICT OF NEVADA

4    UNITED STATES OF AMERICA,                      2:20-cr-00163-APG-EJY
                                                    2:20-cr-00164-APG-EJY
5                   Plaintiff,
6
     vs.                                             ORDER GRANTING MOTION FOR
7                                                   LATE FILING OF NOTICE OF APPEAL
     BENJAMIN EDWARD GALECKI,
8
                    Defendant.
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11          I HEREBY GRANT defendant Benjamin Edward Galecki’s motion to allow him to file an

12   out-of-time notice of appeal.
13
            DATED this 19th day of October, 2020.
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                                                     ANDREW P. GORDON
17                                                   UNITED STATES DISTRICT JUDGE

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